                     Case 4:19-cv-06013-JST Document 222 Filed 09/09/22 Page 1 of 3
                        Case 3:22-cv-04812-SK Document 3 Filed 08/23/22 Page 2 of 2

                                                                                                   FILED
           1                                                                                      SEPO8 2022^
           2                                                                                 CI^RK. U.S. DISTRICT COURT
                                                                                            NORTH DISTRICT OF CAUFORNIA
                                                                                                   OAKLAND OFFICE
           3

           4                                          UNITED STATES DISTRICT COURT

           5                                         NORTHERN DISTRICT OF CALIFORNIA

           6

           7          JUAN C. FONSECA,                                    Case No. 22-cv-04812-SK

                                        Plaintiff,                        CONSENT OR DECLINATION
                                                                          TO MAGISTRATE JUDGE
                                  V.                                      JURISDICTION

           10

           11                           Defendant.


      CO   12
                    INSTRUCTIONS; Please indicate below by cheqking one ofthe two boxes whether you choose
=1         13       to consent or decline magistrate judge jurisdiction in this matter. Sign this form below your
6
4—I   CO            selection.
.2 CJ      14
h
(A
   ^
   o

Q          15                          Consent to Magistrate Judge Ju risdiction
(A    n


- 'q       16              In accordance with the provisions of 28 U.S.C. § 636(c), I voluntarily co^to have a
T3 P
 1)
   C
      U
                    United States magistrate judge conduct all further proceedings in this case, including trial and
.ti ^      17       entry of final judgment.
 c e

           18                OR

           19                □         Decline Magistrate Judge Jurisdiction
           20                In accordance with the provisions of 28 U.S.C. § 636(c), 1 decline to have a United States
                     magistrate judge conduct all further proceedings in this case, including trial and entry of tinal
           21       judgment.
           22

           23

                                                                             NAME:
           24         DATE:

           25                                                     Pr fcforj_ Signature
                                   (Write place wheree sisned.)
                                                       signed.)   /
            26

            27

               28
                     Rev. 03-20
Case 4:19-cv-06013-JST Document 222 Filed 09/09/22 Page 2 of 3
Case 4:19-cv-06013-JST Document 222 Filed 09/09/22 Page 3 of 3
